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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

LYNN HECHT,                                    )
                                               )
                      Plaintiff,               )
                                               )
v.                                             )               CIVIL ACTION NO.
                                               )             8:17-cv-00473-RAL-TBM
WELLS FARGO BANK, N.A.,                        )
                                               )
                      Defendant.               )
                                               )
                                               )
                                               )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW the Plaintiff, Lynn Hecht, and the Defendant, Wells Fargo Bank, N.A.,

and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice, each

claim and count therein asserted by Plaintiff against the Defendant in the above styled action,

with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

       Respectfully submitted this 10th day of May.



/s/    Amanda J. Allen                                 /s/    Artin Betpera
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LYNN HECHT




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 10th day of May, 2018, I have served a copy of the

foregoing document on the following by Notice of Electronic Filing or, if the party served does

not participate in Notice of Electronic Filing, by U.S. First Class Mail, hand delivery, facsimile

or e-mail:

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                                                      /s/    Artin Betpera
                                                             Artin Betpera




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